      Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 1 of 9 Page ID #:1



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 5
     Attorneys for Defendant TARGET CORPORATION
 6
 7
 8
                            UNITED STATES DISTRICT COURT

 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11   JUDY RICE,                                   CASE NO.:
12                 Plaintiff,                     NOTICE OF REMOVAL OF
13                                                ACTION UNDER 28 U.S.C. § 1441(b)
           vs.                                    (DIVERSITY)
14
15   TARGET, TARGET
16   CORPORATION, and DOES 1 TO
     100, Inclusive,
17
18                 Defendants.
19
20         TO THE UNITED STATES DISTRICT COURT, CENTRAL DISTRICT
21   OF CALIFORNIA:
22         Defendant TARGET CORPORATION notices the removal of this action to
23   the United States District Court, and, in support thereof, states as follows:
24         1.      On May 26, 2020, Plaintiff JUDY RICE (“RICE”) filed an action in
25   the Superior Court of the State of California, in and for the County of Orange
26   (Case No. 30-2020-01143064-CU-PO-CJC) entitled “JUDY RICE, Plaintiff vs.
27   TARGET, TARGET CORPORATION, and DOES 1 TO 100, Inclusive,
28   Defendants.” Notably, TARGET CORPORATION (“TARGET”) is the proper
                                               -1-
                   ___________________________________________________________
        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
      Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 2 of 9 Page ID #:2



 1   name of Defendant given said entity is the sole possible Defendant owner and/or
 2   operator of the subject premises where Plaintiff JUDY RICE claims to have
 3   sustained injuries.
 4         2.     PROCEEDINGS/EVENTS THAT HAVE OCCURRED IN THE
 5   SUPERIOR COURT ACTION, TO DATE: The following proceedings/events
 6   have taken place in the State Court action, to date:
 7                a. On May 26, 2020, Plaintiff RICE filed her Complaint. Service of
 8                   the Summons and Complaint upon TARGET was made by
 9                   service through CT Corporation, TARGET’s designated agent for
10                   service of process, on July 9, 2020.
11                b. On or about June 22, 2020, Plaintiff RICE filed a Peremptory
12                   Challenge under C.C.P. §170.6 as to the Honorable Derek W.
13                   Hunt.
14                c. Pursuant to Plaintiff RICE’s Peremptory Challenge, on June 22,
15                   2020 the action was reassigned for all purposes to the Honorable
16                   Richard Lee.
17                d. On July 1, 2020, Plaintiff RICE filed an Amendment to
18                   Complaint naming Defendant ANAHEIM HILLS FESTIVAL as
19                   DOE 1.      A copy of the Amendment to Complaint naming
20                   ANAHEIM HILLS FESTIVAL as DOE 1 is attached hereto as
21                   Exhibit “E”.
22                e. On July 1, 2020, Plaintiff RICE filed an Amendment to
23                   Complaint naming Defendant VESTAR as DOE 2. A copy of
24                   the Amendment to Complaint naming VESTAR as DOE 2 is
25                   attached hereto as Exhibit “F”.
26         3.     No further proceedings have occurred in the matter now pending
27   before the Orange County Superior Court.
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        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
      Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 3 of 9 Page ID #:3



 1          4.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) in that
 2   the amount in controversy exceeds $75,000, exclusive of interest and costs, and
 3   the controversy involves citizens of different states.
 4          5.     For purposes of removal, venue is proper in this District pursuant to
 5   28 U.S.C. § 1441(a) because the state court where the suit has been pending is
 6   located in this district.
 7          6.     Removal is proper under 28 U.S.C. § 1332(a)(1) and 28 U.S.C. §
 8   1441(a) on the basis of diversity of citizenship of the parties.
 9          7.     TARGET is and was at the time this action was commenced, a
10   corporation incorporated in the State of Minnesota with its principal place of
11   business in that State. Defendant has confirmed that Plaintiff is a resident and
12   citizen of the State of California.
13          8.     TARGET is a corporate citizen of Minnesota. If a party is a
14   corporation, it is a citizen of both its state of incorporation and the state where it
15   has its principal place of business. 28 U.S.C. §1332(c)(1). TARGET has been
16   incorporated in Minnesota throughout its existence, and has maintained control of
17   its far-flung operations from its headquarters in Minneapolis, Minnesota for more
18   than 100 years.     In the recent U.S. Supreme Court case, Hertz Corp. v. Friend,
19   130 S. Ct. 1181, U.S. (2010), the Supreme Court held that a corporation's
20   “principal place of business” for purposes of determining federal diversity
21   jurisdiction is its “nerve center” -- the place where the corporations' high-level
22   officers direct, control and coordinate the corporation's activities. This is usually
23   the corporate headquarters. Applying the “nerve center test” to this case,
24   TARGET’S principal place of business is Minneapolis, Minnesota. TARGET
25   does not conduct “substantially all” of its business in any single state, nor does
26   TARGET’S business in any single state “substantially predominate” over any
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        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
         Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 4 of 9 Page ID #:4



 1   other.1 TARGET is a quintessential multistate corporation, with far-flung
 2   operations in each of the 50 states, all of which is directed, controlled and
 3   coordinated by officers in Minneapolis, Minnesota, without regard to locale, in
 4   furtherance of the corporate objective.
 5           9.     Defendant TARGET is informed and believes, and based thereon
 6   alleges, that Defendant ANAHEIM HILLS FESTIVAL is not a corporate or
 7   business entity registered with the California Secretary of State. Rather, TARGET
 8   is informed and believes that Defendant “VESTAR” is actually a joint venture
 9   between VESTAR DEVELOPMENT CO. and VESTAR PROPERTIES, INC.
10   Both VESTAR entities are Arizona-domiciled corporations that own the shopping
11   center, where the incident allegedly occurred, known as ANAHEIM HILLS
12   FESTIVAL.
13           10.    There is now, and there was at the time of the commencement of this
14   action, complete diversity between Plaintiff and Defendants.
15           11.    The provisions of 28 U.S.C. § 1332(a)(1) provide that the district
16   courts shall have original jurisdiction of all civil actions where the matter in
17   controversy exceeds the sum or value of $75,000, exclusive of interest and costs
18   and is between citizens of different states. The provisions of 28 U.S.C. § 1441
19   provide that any civil action brought in a State Court of which the district courts
20   of the United States have original jurisdiction may be removed by the defendant to
21   the district court of the United States for the district and division embracing the
22
23
24
     1  Even if TARGET has relatively extensive sales, employees and assets in California, they do
25
     not “substantially predominate” TARGET’s business activities, especially when looked at in
26   light of California’s relatively high population. TARGET’s business activities in California are
     of no significance to determining its citizenship. See, Hertz Corp. v. Friend, 130 S. Ct. 1181,
27   U.S. (2010), holding that a corporation's “principal place of business” for purposes of
28   determining federal diversity jurisdiction is its “nerve center.”

                                               -4-
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           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
      Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 5 of 9 Page ID #:5



 1   place where such action is pending. This Notice of Removal demonstrates that
 2   this action is properly removable pursuant to federal law.
 3         12.    The Complaint alleges claims for General Negligence and Premises
 4   Liability. Plaintiff prays for the recovery of general damages; for hospital and
 5   medical expenses; for loss of earnings and earning capacity; for prejudgment
 6   interest; for costs of suit incurred; and for such other and further relief as the
 7   Court may deem just and proper, all in an amount according to proof.
 8          13. The sum of the damages alleged by Plaintiff JUDY RICE necessarily
 9   exceed $75,000.00, exclusive of interest and costs, based on the following
10   alleged facts: On or about December 19, 2018, Plaintiff JUDY RICE slipped and
11   fell on a foreign substance believed to be tomato sauce while a guest on
12   TARGET’S premises.
13         14.    As a proximate result of the fall, Plaintiff claims to have suffered
14   injuries to her lower extremities and low back and sought urgent medical care for
15   her injuries on December 21, 2019. Plaintiff has undergone extensive diagnostic
16   testing (x-rays and an MRI); a course of physical therapy and chiropractic care;
17   and has undergone a series of Toradol and epidural injections.
18         15.    On April 8, 2020, Plaintiff’s attorney presented a settlement demand
19   to TARGET outlining Plaintiff’s alleged injuries, the medical treatment rendered
20   to her, Plaintiff’s prognosis, and Plaintiff’s potential need for future medical care.
21   Further, Plaintiff claimed that due to her deteriorating health, she has had to place
22   her orthopedic issues on hold, including a planned appointment with an orthopedic
23   surgeon, and has had to enlist domestic assistance for cleaning, laundry and food
24   preparation, as she was unable to perform those tasks at the level she had been
25   able to prior to the fall. In light of the alleged damages incurred, the liability
26   factors, and other expenses, Plaintiff’s Counsel offered to settle all claims for the
27   amount of $175,000.00.
28         16.    In addition, despite TARGET’S request to do so, Plaintiff’s counsel
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                 ___________________________________________________________
        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
      Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 6 of 9 Page ID #:6



 1   has declined to stipulate to “cap” Plaintiff’s damages at $75,000 for the life of the
 2   litigation. Accordingly, I believe that the amount in controversy clearly exceeds
 3   $75,000.
 4           17.     This Court has original jurisdiction over the subject matter of this
 5   action under the provisions of Section 1332 of Title 28 of the United States Code
 6   in that there is complete diversity between the parties and more than $75,000 in
 7   controversy, exclusive of interest and costs. Pursuant to Section 1441 of Title 28
 8   of the United States Code, TARGET is therefore entitled to remove this action to
 9   this Court.
10           18.     Thirty days have not elapsed since Defendant was served with the
11   Summons and Complaint in this action. A copy of the Summons and Service
12   Transmittal for TARGET is attached hereto and marked as Exhibit “A”. Attached
13   as Exhibit “B” is a copy of the Complaint. Attached as Exhibit “C” is a copy of
14   the Plaintiff’s Civil Case Cover Sheet. Attached as Exhibit “D” is a copy of
15   Plaintiff’s Peremptory Challenge and the Court’s Minute Order confirming
16   reassignment. Exhibits “A”-“D” comprise all of the papers and pleadings served
17   on TARGET CORPORATION.
18           19.     A true and correct copy of this Notice of Removal will be filed
19   immediately with the Clerk of the Orange County Superior Court.
20           20.     DOES 3 to 100 are named and sued fictitiously and their citizenship
21   is disregarded as a matter of law for purposes of removal on grounds of diversity
22   jurisdiction.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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                     ___________________________________________________________
           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
     Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 7 of 9 Page ID #:7



 1        Based on the foregoing, TARGET CORPORATION removes the above
 2   action now pending in the Superior Court, in and for the County of Orange, as
 3   Case No. 30-2020-01143064-CU-PO-CJC, to this Court.
 4
 5   DATED: August 10, 2020         TRACHTMAN & TRACHTMAN, LLP
 6
                                        /s/ Benjamin R. Trachtman
 7                                 By:________________________________
 8                                   Benjamin R. Trachtman
                                     Kelli A. Trachtman
 9
                                     19732 MacArthur Blvd., Suite 100
10                                   Irvine, CA 92612
11
                                     Email: btrachtman@trachtmanlaw.com
                                     Telephone: (949) 282-0100
12                                   Facsimile: (949) 282-0111
13                                   Attorneys for Defendant TARGET
                                     CORPORATION
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        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
      Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 8 of 9 Page ID #:8



 1                                 PROOF OF SERVICE
 2                                      FRCP 5

 3          I, Stephanie Straka, the undersigned, am over the age of 18 years and not a
     party to this action. I am employed with the law firm of Trachtman & Trachtman,
 4   LLP, whose address is 19732 MacArthur Boulevard, Suite 100, Irvine, CA
 5   92612.
 6
           On August 10, 2020, I served the interested parties in this action with the
 7   following documents:
 8
          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b)
 9                (DIVERSITY) AND CIVIL COVER SHEET
10
     as follows:
11
12   [ ] BY ELECTRONIC TRANSMISSION:
13   I caused such document to be electronically transmitted via United States
     District Court, Central District of California, which is then printed and
14
     maintained with the original documents in our office.
15
16
     [X] BY MAIL: I deposited such envelope in the mail at Irvine, California. The
     envelope was mailed with postage thereon fully prepaid. I am “readily familiar”
17   with the firms’ practice of collection and processing correspondence for mailing.
     Under that practice it would be deposited with U.S. postal service on that same
18   day with postage thereon fully prepaid at Irvine, California in the ordinary course
     of business. I am aware that on motion of the party served, service is presumed
19   invalid if postal cancellation date or postage meter date is more than one day after
     date of deposit for mailing in affidavit.
20
     (X) placing ( ) the original (X) a true copy thereof enclosed in the sealed
21
     envelopes addressed as follows:
22
23   Garrett R. Chambers, Esq.
     CHAMBERS & NORONHA
24   2070 N. Tustin Avenue
25   Santa Ana, CA 92705
     T: (714) 558-1400 | F: (714) 558-0885
26
     grchambers@CNLegalGroup.com
27   Attorneys for Plaintiff Judy Rice
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                   ___________________________________________________________
        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
      Case 2:20-cv-07156 Document 1 Filed 08/10/20 Page 9 of 9 Page ID #:9



 1          I declare under penalty of perjury under the laws of the State of California
 2   that the above is true and correct.
 3         Executed on August 10, 2020, at Irvine, California.
 4
                                                  /s/ Stephanie Straka
 5
 6                                             Stephanie Straka, Declarant
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                 ___________________________________________________________
        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)
